Case 1:04-cv-01141-LEK-RFT              Document 38       Filed 09/26/06      Page 1 of 5




UNITED STATES DISTRICT COURT
NORTHERN DISTRICT OF NEW YORK

DORSETT-FELICELLI, INC., d/b/a Pyramids
and PYRAMIDS PRE-SCHOOL, INC.,

                                Plaintiffs,

       -against-                                                 1:04-CV-1141
                                                                  (LEK/RFT)
COUNTY OF CLINTON, PAULA CALKINS
LACOMBE, Individually and in her Official
Capacity as Director of the County of Clinton
Department of Public Health; and KATHERINE
O’CONNOR, Individually and in her Official
Capacity as Early Intervention Official and
Pre-School Related Service Coordinator; NORTH
COUNTRY KIDS, INC.; STEPHANIE GIRARD;
KELLY MCCAULEY; and MELISSA
PURCHALSKI,

                                Defendants.


                           MEMORANDUM-DECISION AND ORDER1

                                              I. Background

       Melissa Dorsett-Felicelli is the President and Executive Director of two corporations,

Dorsett-Felicelli, Inc., d/b/a Pyramids (hereafter “Pyramids”), and Pyramids Pre-School, Inc.

(hereafter “Pre-School”) (collectively “Plaintiffs”). Plaintiffs bring this action pursuant to 42 U.S.C.

§ 1983, alleging that Defendants took retaliatory actions in violation of Dorsett-Felicelli’s First

Amendment rights. Currently before the Court is Plaintiff’s Motion (Dkt. No. 33) to lift the stay

imposed by Order of this Court on June 1, 2005 (June 2005 Order (Dkt. No. 27)), and continued by

Order of September 14, 2005 (September 2005 Order (Dkt. No. 32)), and to return this matter to the


       1
           For printed publication in the Federal Reporter.

                                                    1
Case 1:04-cv-01141-LEK-RFT            Document 38        Filed 09/26/06     Page 2 of 5




Court’s Calendar for discovery. Plaintiff has also filed a Letter Motion (Dkt. No. 37) requesting that

this Court render a decision and disposition of the pending Motion (Dkt. No. 33) for the lifting of

the Stay currently in place. Defendants have not opposed the Motion for lifting of the Stay, but have

requested that the Court revisit their Motion to Dismiss (Dkt. No. 20), and find that the only

remaining issue is one of punitive damages that are not recoverable against Defendants (as

Defendants argue that this Court (Dkt. No. 27) determined to abstain from deciding the rest of

Plaintiffs’ claims). See Defts’ Mem. of Law (Dkt. No. 36, Attach. 1).

       The factual background of this case has been set forth in the prior Orders of this Court,

familiarity with which is presumed. See June 1, 2005 Order (Dkt. No. 27); September 14, 2005

Order (Dkt. No. 32).

                                           II. Discussion

       A. The Stay is Hereby Lifted

       Upon review of Plaintiff’s Motion and supporting memorandum of law, declaration and

exhibit (Dkt. No. 33, Attachs. 1-5), and given that Defendants do not oppose the lifting of the Stay

as requested by Plaintiffs (see Defts’ Mem. of Law (Dkt. No. 36, Attach.1) at 3, 5; Defts’ Affid. of

Lyons (Dkt. No. 36, Attach. 2) at ¶¶ 3-4), the Court hereby lifts the stay imposed by Order of June

1, 2005 (Dkt. No. 27), and continued by Order of September 14, 2005 (Dkt. No. 32).


       B. Defendants’ Request for Revisiting and Reconsideration of Motion to Dismiss

       As mentioned above, although Defendants do not oppose Plaintiff’s request for the lifting of

the Stay, Defendants do move this Court to revisit and reconsider their Motion to Dismiss upon the

lifting of the Stay, and they have submitted a memorandum of law and affidavit in support of said



                                                  2
Case 1:04-cv-01141-LEK-RFT             Document 38        Filed 09/26/06      Page 3 of 5




position. See Defts’ Mem. of Law (Dkt. No. 36, Attach.1) at 3, 5; Defts’ Affid. of Lyons (Dkt. No.

36, Attach. 2) at ¶¶ 3-4. The Court will now address this issue.

       In an Order dated November 16, 2004, this Court determined that it would abstain from

deciding the issues surrounding all of Plaintiffs’ claims regarding declaratory or injunctive relief as

related to the transfer of early intervention session hours, pursuant to the doctrine established by

Younger v. Harris, 401 U.S. 37 (1971). See November 16, 2004 Order (Dkt. No. 16). That decision

was re-affirmed in an Order of this Court dated June 1, 2005. See June 1, 2005 Order (Dkt. No. 27).

Upon the lifting of the Stay in the case at bar, the only remaining issue - as this Court understands -

concerns Plaintiffs’ request for punitive relief for the claimed First Amendment violations, which

had been stayed pending the outcome of Plaintiffs’ Article 78 proceeding in the State courts. Id.

       Defendants now posit that pursuant to Supreme Court precedent, stemming from the case of

Newport v. Fact Concerns, Inc., 453 U.S. 247 (1980), this Court should revisit and grant the

remainder of Defendants’ Motion to Dismiss (Dkt. No. 20), as the municipality is immune from an

award of punitive damages, punitive damages are not available against a defendant acting in his or

her official capacity, and given the Court’s abstention on all of the early intervention hours claims

(except for punitive damages) there is no underlying claim upon which to base an award of punitive

damages. See Defts’ Mem. of Law (Dkt. No. 36, Attach. 1) at 3.

       Indeed, punitive damages are not available against municipalities, or against defendants in

their official capacities. See Newport, 453 U.S. at 271; Zaire v. Doe, No. 9:03-CV-629(FJS/RFT),

2006 WL 1994848, at *10 (N.D.N.Y. July 13, 2006) (Scullin, Senior D.J.). Furthermore,

Defendants are also correct that absent a valid and cognizable underlying claim, punitive damages

are not available - given that a claim for punitive damages/relief is derivative and will not stand on


                                                   3
Case 1:04-cv-01141-LEK-RFT               Document 38        Filed 09/26/06     Page 4 of 5




its own legs. See 22 AM . JUR. 2D Damages § 551 (2006) (citing numerous cases). And, from

Plaintiffs’ own submissions in support of lifting the Stay, it is clear that Plaintiffs were unsuccessful

in their Article 78 proceeding in the State courts, and therefore appear to lack any valid underlying

claim upon which to base a punitive damages award at either the State or Federal level. See Plntfs’

Submissions (Dkt. No. 33, Attachs. 1-5).

        After review of, inter alia, the facts and the relevant law, the Court agrees with Defendants’

position, and upon revisiting and reconsidering Defendants’ prior Motion to Dismiss, grants the

remainder of Defendants’ Motion as concerns the only apparent remaining claim - Plaintiffs’ request

for punitive damages. Thus, given this Court’s prior decision to abstain on all but the punitive

damages issue, and the Court’s present decision to dismiss that claim, Plaintiffs’ Complaint is

hereby dismissed.


                                             III. Conclusion

        Based on the foregoing discussion, it is hereby

        ORDERED, that Plaintiff’s Letter Motion (Dkt. No. 37) requesting the Court’s decision and

disposition is GRANTED, in that this Court now renders decision in this matter concerning the

lifting of the Stay currently in place; and it is further

        ORDERED, that the STAY previously imposed by this Court by the Order dated June 1,

2005 (Dkt. No. 27), and continued by Order of this Court dated September 14, 2005 (Dkt. No. 32),

is LIFTED; and it is further




                                                      4
Case 1:04-cv-01141-LEK-RFT            Document 38       Filed 09/26/06      Page 5 of 5




       ORDERED, that upon revisiting and reconsidering the remaining issues from Defendants’

Motion to Dismiss (Dkt. No. 20), as it concerns the issues left undecided by this Court’s prior Order

of June 1, 2005 (Dkt. No. 27) (i.e. punitive damages for alleged First Amendment violations), the

Court GRANTS the remainder of Defendants’ Motion; and it is further

       ORDERED, that Plaintiff’s Complaint (Dkt. No. 1) is DISMISSED; and it is further

       ORDERED, that the Clerk serve a copy of this Order on all parties.

       IT IS SO ORDERED.


DATED:         September 26, 2006
               Albany, New York




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